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8
                      IN THE UNITED STATES DISTRICT COURT
9
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12
     UNITED STATES OF AMERICA,        )        Case. No. CR-S-05-290 WBS
13                                    )
                     Plaintiff,       )
14                                    )        REQUEST THAT MATTER BE
                                      )        CONTINUED AND ORDER
15        v.                          )
                                      )
16   GILBERTO BELTRAN,                )        Date: September 27, 2006
                                      )        Time: 9:00 a.m.
17                   Defendant.       )        Hon. William B. Shubb
                                      )
18                                    )
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          The United States of America and defendant Gilberto Beltran
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     hereby request that the status conference currently scheduled to
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     take place on August 30, 2006, be vacated and reset for September
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     27, 2006.   The reasons for this request are as follows.        Counsel for
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     the defendant is now in possession of all of the discovery in this
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     case, but is still in the process of reviewing that discovery, which
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     consists of over 2,000 documents as well as multiple tapes, computer
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     discs, and telephone transcripts.        In addition, the parties are
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     actively pursuing resolution of this matter.       The parties intend to


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1    inform the Court on or before September 27 whether the case will
2    resolve by plea or trial.       The parties agree and stipulate that the
3    time from today’s date through September 27, 2006, should be
4    excluded under those provisions of the Speedy Trial Act relating to
5    reasonable time to prepare.       18 U.S.C. § 3161(h)(8)(B)(iv); Local
6    Code T4.
7
     DATED: August 28, 2006                       /s/ Philip A. Ferrari for
8                                                GILBERT ROQUE, ESQ.
                                                 Attorney for Defendant
9
10   DATED: August 28, 2006                      McGREGOR W. SCOTT
                                                 United States Attorney
11
12                                        By:
                                         /s/ Philip A. Ferrari
                                        PHILIP A. FERRARI
13                                      Assistant U.S. Attorney
          Therefore, IT IS HEREBY ORDERED that:
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          1.      The status conference currently set for August 30, 2006,
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     is VACATED;
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          2.      A further status conference is set for September 27, 2006,
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     at 9:00 A.M.
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          2.      Based upon the above representations and stipulation of
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     the parties, the Court finds that the ends of justice outweigh the
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     best interest of the public and the defendant in a speedy trial.
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     Accordingly, time under the Speedy Trial Act shall be excluded from
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     today’s date through September 27, 2006.
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          IT IS SO ORDERED.
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25   Date:     August 29, 2006
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